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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF ARIZONA

United States of America,

Plaintiff,

V8.

Thomas William Hancock,

Defendant.

1f- FSG9ND

MOTION TO SEAL COMPLAINT
(Filed Under Seal)

 

 

The United States of America, by and through undersigned counsel, moves this

Court for an Order sealing the Complaint and this Motion and Order filed in this matter on

the grounds that disclosure would not be in the best interest of justice. The Complaint

investigation.

' contains information that if disclosed to the public could compromise an ongoing

Respectfully submitted this 31st day of August, 2018.

ELIZABETH A. STRANGE
First Assistant United States Attorney
District of Arizona

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Assistant U.S. Attorney

 

 
